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U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
ATTORNEY APPEARANCE FORM

NOTE: In order to appear before this Court an attorney must either be a member in good
standing of this Court’s general bar or be granted leave to appear pro hac vice as provided for
by Local Rules 83.12 through 83.14.

In the Matter of Case Number: 13 cv 08444

John Stewart, Timothy Phillips and Gilberto Colon, et al. vs.
Waukegan Housing Authority, Charles Chambers, Indv. and as
Executive Director of Waukegan Housing Authority and
Renwick Cornelious, Indv. and as Property Manager

AN APPEARANCE IS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:

WAUKEGAN HOUSING AUTHORITY, CHARLES CHAMBERS AND RENWICK
CORNELIOUS

DEFENDANTS DEMAND JURY TRIAL

NAME (Type or print)
SHIRLEY Z. BLAZEJCZYK

SIGNATURE (Use electronic signature if the appearance form is filed electronically)
sf Shirley Z. Blazejezyk

FIRM
Judge, James & Kujawa, LLC

STREET ADDRESS
422 N. Northwest Highway, Suite 200

CITY/STATE/ZIP
Park Ridge, Illinois 60068

ID NUMBER (SEE ITEM 3 IN INSTRUCTIONS) TELEPHONE NUMBER

6244621 (847) 292-1200

ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE? yes[_ | no[V¥]
ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE? YES [ | no[/]
ARE YOU A MEMBER OF THIS COURT’S TRIAL BAR? yEs[_ | nol |

IF THIS CASE REACHES TRIAL, WILL YOU ACT AS THE TRIAL ATTORNEY? ves|_ | NO

IF THIS IS A CRIMINAL CASE, CHECK THE BOX BELOW THAT DESCRIBES YOUR STATUS.

RETAINED COUNSEL| _ | APPOINTED COUNSEL [ |

